Q€§_ CaSe: 1:10-Cv-O7044 Document #: 1 Filed: 11/02/10 Page 1 of 12 Page|D #:1 UA

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UNITED STATES DISTRICT COUR'I` _
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thls actmn)
vs. ,_ Case No:
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(Enter above the iilll name of ALL
defendants m this action. Do not

usc "et al.“)

CHECK ONE ONLY:

 

COMPLAJNT UN])ERTHE CIV]L RIGHTS ACT, TITLE42 SECTION 1983
U.S. Code (staj;e, county, or municipal dcfendailts)

COMPLAINT UNDERTHE CONS’I`ITUTION ("BIVENS" ACTION), TI’I`LE
28 SECI`ION 1331 U.S. Code (fedcral dcfcndams]

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Prisoner identchation number:

 

 

 

List all aliases:

 

 

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Place of present confinement
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number, place of confinement and current address according to the above format on a
separate sheet of paper.)

 

Defendant(s):

(ln A below, place the full name of the first defenth in the first blank, his or her oH:`icial
position in the second blank, and his or her place of employment m the third blank. Space
for two additional defendants' is provided 111 B and C .)

A. Defendant:‘p@ 11®‘£€111§1 ~Pr :V>:HA 41 @125
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PlaceofEmploymenu &11101¢1@ k1)<::~111:1§ 1.?5®»€»“1_

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

 

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Case: 1:10- -C\/- -07044 Document #: 1 Filed: 11/02/10 Page 4 of 12 Page|D #:4

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Case: 1:10-Cv-O7044 Document #: 1 Filed: 11/02/10 Page 6 of 12 Page|D #:6

III. List ALL lawsuits you (and your co-plaintiffs, if any) have liled in any state or federal
court in the United States:

A. Name of case and docket number: @ 4 C_ 5 G 9 4

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B. Approximate date of filing lawsuit _HON€ 253 2 °

 

C. List all plainst (ifyou had co-plaintiH`s), including any aliases:

 

 

 

 

   
 

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I. Approximate date of disposition:

 

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YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SEC’I`ION COMPLETELY,
AND FAILURE TO DO SO MAY RESUL'[` IN DISN[ISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILE]).

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Case: 1:10-Cv-O7044 Document #: 1 Filed: 11/02/10 Page 7 of 12 Page|D #:7

III. List ALL lawsuits you (and your co-plaintiii’s, if auy) have filed in any state or federal
court in the Uniwd States:

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C. List all plaintiffs (ifyou had co~plaintiifs), including any aliases:

 

 

 

 

 

 

 

 

D.
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H. Disposition of this ease'(t`or example: Wasthecasedismimed? Wasitappealed?
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AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
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Case: 1:10-Cv-O7044 Document #: 1 Filed: 11/02/10 Page 8 of 12 Page|D #:8

IV. Statement of Claim:

Sta:te here as briefly as possible the facts of your case Deccn`be how each defendant is
involved, including nemes, dates, and places. Do not give any legal arguments or cite any
cases or statute1 Ifyou intend to allege a number of related cleims, number and set forth
each claim in a separate paragraph (Use as much space as you need. Attaeh extra sheets if

 

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V. Relief:

State briefly exactly what you want the court to do for you. Make no legal argmnents. Cite
no cases or stauncs.

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vt The plajmio~ demands rim the case be died by a jury. g YES |:l No

CERT]I"ICATION

By signing this Complaint, I certify that the facts stated in this

Complaint are true to the best of my knowledge, information and

belief I understand that if this certification ls not correct, l may be
- subject to sanctions why the Co no§

` Signcd this§ "idw of O\/A,Z

 

 

 

 

 

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